     Case 2:19-cv-11793-BWA-DPC Document 469 Filed 07/05/22 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


KATHERINE MUSLOW AND                                        CIVIL ACTION NO. 19-11793
MEREDITH CUNNINGHAM

VERSUS

BOARD OF SUPERVISORS OF
LOUISIANA STATE UNIVERSITY AND                              JUDGE BARRY W. ASHE
AGRICULTURAL AND MECHANICAL
COLLEGE, JON HARMAN, LARRY
HOLLIER, THOMAS SKINNER, AND                                MAGISTRATE JUDGE
CARLTON “TREY” JONES, III                                   DONNA PHILLIPS CURRAULT

                                  MOTION TO TAX COSTS

          NOW INTO COURT, through undersigned counsel, comes defendant, John Harman,

who, as the prevailing party in this litigation and pursuant to Rule 54(d) of the Federal Rules of

Civil Procedure, 28 U.S.C. 1920, and Local Rules LR 54.3 and LR 54.3.1, moves the Clerk of this

Honorable Court to tax, in his favor and against plaintiffs, Katherine Muslow and Meredith

Cunningham, costs in the amount of Three Thousand four hundred twenty-eight and 25/100

DOLLARS ($3,428.25), all as itemized in the Bill of Costs and accompanying Exhibits, attached

hereto.

          WHEREFORE, John Harman prays that this motion be granted and that after due

proceedings are had, the Clerk of Court tax, in his favor and against Katherine Muslow and

Meredith Cunningham, those costs itemized in the attached Bill of Costs.
     Case 2:19-cv-11793-BWA-DPC Document 469 Filed 07/05/22 Page 2 of 2




                                                     Respectfully Submitted:

                                                     JEFF LANDRY, Attorney General

                                                     By: HAILEY, MCNAMARA

                                                     /s/Darren A. Patin
                                                     DARREN A. PATIN, #23244
                                                     Special Assistant Attorney General
                                                     One Galleria Boulevard, Suite 1400
                                                     Metairie, Louisiana 70001
                                                     Telephone: (504) 836-6500
                                                     dpatin@hmhlp.com
                                                     Counsel for Defendant, John Harman



                                CERTIFICATE OF SERVICE

       I do hereby certify that I have on this 5th day of July 2022 electronically filed the above

with the Clerk of Court utilizing the CM/ECF system, and/or have served a copy of the foregoing

pleading on counsel for all parties to this proceeding either by e-mailing, faxing or by mailing

the same by United States mail, properly addressed and first-class postage prepaid.


                                      s/Darren A. Patin
                                     DARREN A. PATIN
